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EXHIBIT F
Case: 5:22-cv-01454-CEH Doc #: 1-9 Filed: 08/15/22 2 of 2. PagelD #: 35

WANQ021 Gunaif - Onder #1395 contimed

N

d Gmail Kart Forsell <fforce@gmail.com>

Order #1395 confirmed

i message

FPGA Land <sales@fpgaland> 413 June 2018 at 02:03
To: frel@fimi.net

FPGA Land ORDER #1395

Thank you for your purchase!

Hi Carl, we're geiting your order ready to be shipped. We will notify you when it
has been sent.

or Visit our store

Order summary

BCU1525 - Blockchaln Edition (With Mods &

RAM) x 10 $36,000.00
1668
Subiatal $36,000,00
Shipping $224.06
Talal $36,224.06 USD

Customer information

Shipping address Billing address

Carl Forselt Carl Forsell

Nonce Pte Lid Nonece Pte Ltel

8 St Martin's Dr 8 St Martin's Or

#03-21 St Martin Residence #03-21 St Martin Residence
Singapore 258005 Singapore 258005

Singapore Singapore

Shipping method Payment method

Worldwide Cainbase commerce — $36,224.06

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